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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  AT ASHLAND

CRIMINAL ACTION NO. 07-15-DLB-EBA-7

UNITED STATES OF AMERICA                                                       PLAINTIFF


vs.                                           ORDER


LEONARD FYFFE,                                                              DEFENDANT

                              *    *      *     *     *   *   *

       This matter is before the Court upon the Report and Recommendation (R&R) of the

United States Magistrate Judge wherein he recommends that the Court revoke Defendant’s

supervised release and impose a sentence of twelve (12) months and one (1) day

imprisonment, with no supervised release to follow. (Doc. # 250). At his initial appearance

before Magistrate Edward B. Atkins on October 29, 2012, Defendant admitted to violating

the terms of his supervised release as charged. Defendant also waived his right to

allocution before the United States District Judge prior to final sentencing. (Doc. # 248).

       Defendant has not filed any objections to the R&R, and the time to do so has now

expired. Having reviewed the R&R, the Court concludes that it is sound in all respects,

including the recommended sentence and the basis for said recommendation. Accordingly,

       IT IS ORDERED as follows:

       (1)    The Magistrate Judge’s Report and Recommendation (Doc. # 250) is hereby

              ADOPTED as the findings of fact and conclusions of law of the Court;




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       (2)    Defendant is found to have VIOLATED the terms of his supervised release;

       (3)    Defendant’s supervised release is hereby REVOKED;

       (4)    Defendant is sentenced to the CUSTODY of the Attorney General for a

              period of TWELVE (12) MONTHS and ONE (1) DAY, with no supervised

              release to follow; and

       (5)    A Judgment shall be entered contemporaneously herewith.

       This 26th day of November, 2012.




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